Case 1:19-cv-00487-PLM-RSK ECF No. 14, PageID.502 Filed 05/14/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


JASON LAFAYETTE,

       Petitioner,
                                                    Case No. 1:19-cv-487
v.
                                                    HONORABLE PAUL L. MALONEY
SHERRY BURT,

      Respondent.
____________________________/

                                        JUDGMENT

      In accordance with the Order entered this date:

      IT IS HEREBY ORDERED that Judgment is entered.



Dated: May 14, 2021                                       /s/ Paul L. Maloney
                                                         Paul L. Maloney
                                                         United States District Judge
